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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION




UNITED STATES OF AMERICA


      V.                                              CR        115-107


CECIL BRADY HILL




                                   ORDER




      Before the Court is Defendant Cecil Brady Hill's "Motion for

Entry of     Order     Requiring Response."               More    specifically,         Hill

requests that this Court inquire of the United States Government

whether it plans to file a motion under Rule 35(b). Federal Rules

of   Criminal      Procedure,   for    his    substantial         assistance       in    the

prosecution of an individual name Matt Bowers.                      Hill recognizes,

as he must, that this Court cannot compel the Government to file

a Rule 35(b) motion.          (Doc. 245, at 3.)             "To the contrary, Mr.

Hill is simply requesting this Court to require the Government to

respond to whether it has considered Mr. Hill's cooperation and

whether     that     cooperation      rose    to    the     level    of       substantial

assistance      in    the   Government's      view;       and    hence,       whether    the

Government    therefore      intends    to    or    not    to    file"    a    Rule   35(b)

motion.     (Id.)

      The   Government       responded       that   it    is     unfamiliar       with   an

individual named Matt Bowers and therefore has no information about

Hill's alleged cooperation.             (Doc. 246.)             Thus, the Government
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"declines to file for a further reduction of         Hill's sentence."

(Id. at 2.)    Consequently, Hill has now received the governmental

response that he sought through his motion.

     Upon the foregoing, the Clerk is directed to TERMINATE AS

MOOT Defendant Hill's present motion (doc. 245).

     ORDER    ENTERED   at Augusta, Georgia, this     /Q    day of May,
2019.




                                       J.         HALL,' CHIEF JUDGE
                                       UNITED States district court
                                       SOUTHERN DISTRICT OF GEORGIA
